                                                                 U.S. DISTRICT COtRT
      Case 4:10-cv-00139-A Document 6 Filed 04/15/10   Page :NORTHERN
                                                             1 of 6 PageID  24OF TEXAS
                                                                      DISTRICT
                                                                      FILEi)- - - - . . ,
                  IN THE UNITED STATES DISTRICT OURT
                       NORTHERN DISTRICT OF TEXAS                  APR '5
                           FORT WORTH DIVISION
                                                             CLERK, U.S. DISTRICT COURT
                                                              By ____~~__-----
SEAN FAUBION                          §                                 Deputy
                                      §
VS.                                   §    NO. 4:10-CV-139-A
                                      §    (NO. 4:08-CR-147-A)
                                      §
UNITED STATES OF AMERICA              §



                             MEMORANDUM OPINION
                                     and
                                    ORDER

       Came on to be considered the motion of movant, Sean Faubion,

under 28 U.S.C.     §   2255 to vacate, set aside, or correct sentence.

Having reviewed the motion, the government's response, the entire

record of this case, and applicable legal authorities, the court

concludes that the motion should be denied.

                                      I.

                                 Background

      On November 14, 2008, movant pleaded guilty to one count of

maintaining drug-involved premises "in violation of 21 U.S.C.                    §

856(a) (1).    The court on February 27, 2009, sentenced movant to a

term of imprisonment of ninety-seven months, followed by a three-

year term of supervised release.           On December 7, 2009, the Fifth

Circuit affirmed movant's conviction and sentence.              United States

v. Faubion, 2009 WL 4572866 (5th Cir. Dec. 7, 2009).               Movant

timely filed the instant motion.

                                     II.

                           Grounds of the Motion

      Movant claims he is entitled to relief for violation of his

Sixth Amendment right to effective assistance of counsel because
    Case 4:10-cv-00139-A Document 6 Filed 04/15/10   Page 2 of 6 PageID 25


(1) due to counsel's bad advice he was not awarded a reduction

for acceptance of responsibility and counsel failed to object to

the denial at trial or on appeal, and (2) counsel told him he

would receive a "safety-valve" reduction if he debriefed with

government agents but he never received the reduction.

     As to the factual basis for his first ground, movant

contends his attorney advised him not to talk about things that

were in his discovery, and that he was unaware of what was in his

discovery, resulting in the probation officer refusing to credit

him with acceptance of responsibility.          Movant contends his

counsel never argued in favor of the acceptance of responsibility

at sentencing or on appeal.

     As to the factual basis for his second ground, movant

contends his counsel told him he would receive a two-point

"safety-valve" reduction if he debriefed with Drug Enforcement

Administration agents, but he never received the reduction.

                                   III.

                          Treatment of    §   2255

     To prevail on an ineffective assistance of counsel claim,

movant must show that (1) counsel's performance fell below an

objective standard of reasonableness and (2) there is a

reasonable probability that, but for counsel's unprofessional

errors, the result of the proceedings would have been different.

Strickland v. Washington, 466 U.S. 668, 688, 694 (1984).            Both

prongs of the Strickland test must be met to demonstrate

ineffective assistance.     Id. at 687.       "A court need not address


                                    2
     Case 4:10-cv-00139-A Document 6 Filed 04/15/10   Page 3 of 6 PageID 26


both components of an ineffective assistance of counsel claim if

the movant makes an insufficient showing on one."            United States

v. Stewart, 207 F.3d 750, 751 (5th Cir. 2000)          (per curiam) .

Prejudice in the context of a guilty plea requires movant to show

"that there is a reasonable probability that, but for counsel's

errors, he would not have pleaded guilty and would have insisted

on going to trial."      Hill v. Lockhart, 474 U.S. 52, 59 (1985).

Judicial scrutiny of this type of claim must be highly

deferential, and the movant must overcome a strong presumption

that his counsel's conduct falls within the wide range of

reasonable professional assistance.        Strickland, 466 U.S. at 689.

      Movant is entitled to no relief based on the alleged

ineffective assistance of counsel because he has failed to meet

the standard set forth by Strickland.

                                    IV.

                     None of the Grounds Has Merit

A.    Ground One

      Movant's contentions are conclusory, as he fails to identify

the information in his discovery which allegedly led to the

denial of acceptance of responsibility and which he would have

discussed absent counsel's ineffective assistance.            Conclusory

assertions cannot sustain a claim of ineffective assistance of

counsel.   Miller v. Johnson, 200 F.3d 274, 282 (5th Cir. 2000).

Further, movant's assertions concerning his acceptance of

responsibility are contradicted by the record.           The probation

officer recommended denial of acceptance of responsibility due to


                                      3
    Case 4:10-cv-00139-A Document 6 Filed 04/15/10   Page 4 of 6 PageID 27


statements by movant that contravened statements of codefendants

and witnesses, and because he "frivolously" contested relevant

conduct.

     Movant's counsel objected to the denial of acceptance of

responsibility.     In an order signed February 23, 2009, the court

stated its tentative conclusion that all of movant's objections

to the presentence report were without merit.          Nonetheless,

movant's counsel maintained those objections at sentencing, and

called two witnesses, in addition to cross-examining the

government's witness, to refute the factual allegations relied on

by the probation officer in the presentence report.           The court

ultimately found the information in the presentence report to be

reliable and overruled counsel's objections.           Sentencing Tr. at

69-71.     That counsel's objections were unsuccessful does not

constitute ineffective assistance of counsel.          Youngblood v.

Maggio, 696 F.2d 407, 410 (5th Cir. 1983).

     Movant also complains that counsel failed to raise this

issue on appeal.    Movant must prove that, but for counsel's

ineffective assistance, there is a reasonable probability he

would have prevailed on appeal.         Smith v. Robbins, 528 U.S. 259,

285 (2000).     Counsel is not required to raise every non-frivolous

argument on appeal, and movant has not alleged, much less shown,

that there is any probability he would have prevailed on this

point on appeal.     See U.S. v. Reinhart, 357 F.3d 521, 525 (5th

Cir. 2004).




                                    4
       Case 4:10-cv-00139-A Document 6 Filed 04/15/10   Page 5 of 6 PageID 28


B.      Ground Two

        The presentence report reflects that movant was denied a

"safety valve" reduction because he failed to truthfully provide

to the government all information he had concerning his offense,

as required by u.s. Sentencing Guidelines Manual            §   5C1.2(a) (5).

Movant's counsel objected to the probation officer's

recommendation concerning the safety valve reduction, but the

court concluded the objections were without merit.              As stated

previously, that counsel's objection was unsuccessful does not

render his assistance ineffective.           Youngblood, 696 F.2d at 410.

Id.     Movant has failed to show, as to either of his claims for

relief,    "that there is a reasonable probability that, but for

counsel's errors, he would not have pleaded guilty and would have

insisted on going to trial."         Hill, 474 U. S. at 59.

                                       v.
                                     ORDER

        Therefore,

        For the reasons discussed above,

        The court ORDERS that the motion of Sean Faubion to vacate,

set aside, or correct sentence pursuant to 28 U.S.C. § 2255 be,

and is hereby, denied.

        Pursuant to Rule 22(b) of the Federal Rules of Appellate

Procedure, Rule 11(a) of the Rules Governing Section 2255

Proceedings for the United States District Courts, and 28 U.S.C.

§    2253(c) (2), for the reasons discussed herein, the court further

ORDERS that a certificate of appealability be, and is hereby,


                                       5
    Case 4:10-cv-00139-A Document 6 Filed 04/15/10   Page 6 of 6 PageID 29


denied, as movant has not made a substantial showing of the

denial of a constitutional right.

     SIGNED April 15, 2010.




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